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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                  4:09-CR-00278-06-BRW

JOSE LUIS ESCOTA MOYA

                                            ORDER

       Pending is Defendant’s pro se Motion to Modify Sentence Under 18 U.S.C. § 3582 (Doc.

No. 331).

       Defendant was held responsible for 13.794 kilograms of methamphetamine, and his

Guidelines range was 292 to 365 months.1 Because I felt that Guidelines range was a bit high, I

sentenced Defendant to 200 months in prison.

       Contrary to the assertions in Defendant’s motion, his Guidelines range has not changed

since his sentencing on January 6, 2012, and he is not entitled to a sentencing reduction under

18 U.S.C. § 3582(c).

       Accordingly, the Motion to Modify Sentence Under 18 U.S.C. § 3582 (Doc. No. 331) is

DENIED.

       IT IS SO ORDERED this 4th day of July, 2012.



                                                  /s/Billy Roy Wilson
                                           UNITED STATES DISTRICT JUDGE




       1
        Doc. No. 327.

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